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                        EXHIBIT A
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION


    UNITED STATES OF AMERICA                               )
                                                           )     Case No. 1: 14-cr-00229-JMD-MJD
                                                           )
                   V.                                      )
                                                           )     Hon. Jane Magnus-Stinson
    AISIN SEIKI CO., LTD.,                                 )
                                                           )
                                  Defendant.               )     Violation: 15 U.S.C. § 1



                                           PLEA AGREEMENT

           The United States of America and Aisin Seiki Co., Ltd. ("Defendant"), a corporation

    organized and existing under the laws of Japan, hereby enter into the following Plea Agreement

    pursuant to Rule 1l(c)(l)(C) of the Federal Rules of Criminal Procedure ("Fed. R. Crim. P."):

                                      RIGHTS OF DEFENDANT

           1.      The Defendant understands its rights:

                  (a)     to be represented by an attorney;

                  (b)     to be charged by Indictment;

                   (c)    as a corporation organized and existing under the laws of Japan, to decline

           to accept service of the Summons in this case, and to contest the jurisdiction of the

           United States to prosecute this case against it in the United States District Court for the

           Southern District of Indiana;

                   (d)    to plead not guilty to any criminal charge brought against it;

                   (e)    to have a trial by jury, at which it would be presumed not guilty of the

           charge and the United States would have to prove every essential element of the charged

           offense beyond a reasonable doubt for it to be found guilty;
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                   (f)      to confront and cross-examine witnesses against it and to subpoena

           witnesses in its defense at trial;

                   (g)     to appeal its conviction if it is found guilty; and

                   (h)     to appeal the imposition of sentence against it.

                                  AGREEMENT TO PLEAD GUILTY
                                   AND WAIVE CERTAIN RIGHTS

           2.      The Defendant knowingly and voluntarily waives the rights set out in Paragraph

    1(b )-(g) above. The Defendant knowingly and voluntarily waives any objection or defense it

    may have to the prosecution of the charged offense in the United States District Court for the

    Southern District of Indiana based on venue. The Defendant also knowingly and voluntarily

    waives the right to file any appeal, any collateral attack, or any other writ or motion, including

    but not limited to an appeal under 18 U.S.C. § 3742, that challenges the sentence imposed by the

    Court if that sentence is consistent with or below the recommended sentence in Paragraph 9 of

    this Plea Agreement, regardless of how the sentence is determined by the Court. This agreement

    does not affect the rights or obligations of the United States as set forth in 18 U.S .C. § 3742(b)-

    (c). Nothing in this paragraph, however, will act as a bar to the Defendant perfecting any legal

    remedies it may otherwise have on appeal or collateral attack respecting claims of ineffective

    assistance of counsel or prosecutorial misconduct. The Defendant agrees that there is currently

    no known evidence of ineffective assistance of counsel or prosecutorial misconduct. Pursuant to

    Fed. R. Crim. P. 7(b), the Defendant will waive indictment and plead guilty to a one-count

    Information to be filed in the United States District Comt for the Southern District oflndiana.

    The Information will charge the Defendant with participating in a combination and conspiracy to

    suppress and eliminate competition in the automotive paits industry by agreeing to allocate

    customers of, rig bids for, and fix, stabilize, and maintain the prices of, variable valve timing

    ("VVT") devices sold to automobile manufacturers, including General Motors Company, Nissan

    Motor Co., Ltd., Volvo Car Corporation, BMW AG, and ce1tain of their subsidiaries, affiliates,


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   and suppliers (collectively, " Automobile Manufacturers"), in the United States and elsewhere,

   from at least as early as September 2000 until at least February 2010, in violation of the Sherman

   Antitrust Act, 15 U.S.C. § 1.

           3.     The Defendant will plead guilty to the criminal charge described in Paragraph 2,

   above, pursuant to the terms of this Plea Agreement and will make a factual admission of guilt to

   the Court in accordance with Fed. R. Crim. P. 11 , as set forth in Paragraph 4, below.

                           FACTUAL BASIS FOR OFFENSE CHARGED

           4.      Had this case gone to trial, the United States would have presented evidence

    sufficient to prove the following facts beyond a reasonable doubt.

                   (a)    For purposes of this Plea Agreement, the "relevant period" is that period

           from at least as early as September 2000 through at least February 2010. During the

           relevant period, the Defendant was a corporation organized and existing under the laws of

           Japan. The Defendant had its principal place of business in Kari ya, Japan. During the

           relevant period, the Defendant was a manufacturer and supplier of VVT devices, was

           engaged in the business of manufacturing and selling VVT devices to Automobile

           Manufacturers in the United States and elsewhere, and employed 5,000 or more

           individuals. VVT devices are installed in automobile engines and regulate the timing,

           extent, and duration of the opening of the engine' s intake and exhaust valves.

                   (b)    During the relevant period, the Defendant, through its officers and

           employees, including high-level personnel of the Defendant, participated in a conspiracy

           with other persons and another company involved in the manufacture and sale of VVT

           devices, the primary purpose of which was to suppress and eliminate competition in the

           automotive parts industry by agreeing to allocate customers of, rig bids for, and fix,

           stabilize, and maintain the prices of, VVT devices sold to Automobile Manufacturers in

           the United States and elsewhere. In furtherance of the conspiracy, the Defendant,

           through its officers and employees, engaged in discussions and attended meetings with

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           representatives of another company involved in the manufacture and sale of VVT

           devices. During such discussions and meetings, agreements were reached to allocate the

           Automobile Manufacturers to whom each would sell VVT devices, rig bids quoted to

           Automobile Manufacturers for VVT devices, and fix, stabilize, and maintain the prices of

           VVT devices, sold to Automobile Manufacturers in the United States and elsewhere. The

           conduct charged during the relevant period affected the Defendant's sales of VVT

           devices to Automobile Manufacturers in the United States and elsewhere until at least

           June 2010, which totaled approximately $113.6 million.

                  (c)      During the relevant period, VVT devices sold by one or more of the

           conspirator companies and equipment and supplies necessary to the manufacture and sale

           of VVT devices, as well as payments for VVT devices, traveled in interstate and import

           trade and commerce. The business activities of the Defendant and its co-conspirators in

           connection with the manufacture and sale of VVT devices that were the subject of this

           conspiracy were within the flow of, and substantially affected, interstate and import trade

           and commerce.

                                  ELEMENTS OF THE OFFENSE

           5.     To sustain the violation of 15 U.S.C. § 1 charged in the Information, the United

    States must prove the following elements beyond a reasonable doubt:

                  (a)     the conspiracy described in the Information existed at or about the time

           alleged;

                  (b)     the Defendant knowingly became a member of the conspiracy; and

                  (c)     the conspiracy described in the Information either substantially affected

           interstate commerce in goods or services or occurred within the flow of interstate

           commerce in goods and services.




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                                 POSSIBLE MAXIMUM SENTENCE

           6.      The Defendant understands that the stah1tory maximum penalty which may be

    imposed against it upon conviction for a violation of Section One of the Sherman Antitrust Act is

    a fine in an amount equal to the greatest of:

                   (a)     $100 million (15 U.S.C. § l);

                   (b)     twice the gross pecuniary gain the conspirators derived from the crime (18

           U.S.C. § 357l(c) and (d)); or

                   ( c)    twice the gross pecuniary loss caused to the victims of the crime by the

           conspirators (18 U.S.C. § 357l(c) and (d)).

           7.      In addition, the Defendant understands that:

                   (a)     pursuant to 18 U.S.C. § 3561(c)(l), the Court may impose a term of

           probation of at least one year, but not more than five years;

                   (b)      pursuant to § 8B 1.1 of the United States Sentencing Guidelines

           ("U.S.S.G.," "Sentencing Guidelines," or "Guidelines") or 18 U.S.C. § 3563(b)(2) or

           3663(a)(3), the Comt may order it to pay restitution to the victims of the offense; and

                   (c)     pursuant to 18 U.S.C. § 3013(a)(2)(B), the Court is required to order the

           Defendant to pay a $400 special assessment upon conviction for the charged crime.

                                     SENTENCING GUIDELINES

            8.     The Defendant understands that the Sentencing Guidelines are advisory, not

    mandatory, but that the Court must consider, in determining and imposing sentence, the

    Guidelines Manual in effect on the date of sentencing unless that Manual provides for greater

    punishment than the Manual in effect on the last date that the offense of conviction was

    committed, in which case the Court must consider the Guidelines Manual in effect on the last

    date that the offense of conviction was committed. The parties agree there is no ex post facto

    issue under the November 1, 2014, Guidelines Manual. The Court must also consider the other

    factors set forth in 18 U.S .C. § 3553(a) in determining and imposing sentence. The Defendant

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   understands that the Guidelines determinations will be made by the Court by a preponderance of

    the evidence standard. The Defendant understands that although the Court is not ultimately

    bound to impose-a sentence within the applicable Guidelines range, its sentence must be

   reasonable based upon consideration of all relevant sentencing factors set forth in 18 U.S.C. §

    3553(a).

                                    SENTENCING AGREEMENT

           9.      Pursuant to Fed. R. Crim. P. 1l(c)(l)(C) and subject to the full , truthful, and

    continuing cooperation of the Defendant and its related entities, as defined in Paragraph 13 of

    this Plea Agreement, the United States and the Defendant agree that the appropriate disposition

    of this case is, and agree to recommend jointly that the Court impose, a sentence requiring the

    Defendant to pay to the United States a criminal fine of $35.8 million payable in full before the

    fifteenth (15th) day after the date of judgment and no order of restitution ("the recommended

    sentence"). The paiiies agree that there exists no aggravating or mitigating circumstance of a

    kind, or to a degree, not adequately taken into consideration by the U.S. Sentencing Commission

    in formulating the Sentencing Guidelines justifying a departure pursuant to U.S .S.G. § 5K2.0.

    The parties agree not to seek at the sentencing hearing any sentence outside of the Guidelines

    range nor any Guidelines adjustment for any reason that is not set forth in this Plea Agreement.

    The parties further agree that the recommended sentence set forth in this Plea Agreement is

    reasonable.

                    (a)    The Defendant understands that the Court will order it to pay a $400

           special assessment, pursuant to 18 U.S .C. § 3013(a)(2)(B), in addition to any fine

           imposed.

                    (b)    In light of the availability of civil causes of action, which potentially

           provide for a recovery of a multiple of actual damages, the recommended sentence does

           not include a restitution order for the offense charged in the Information.



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                    (c)    Both parties will recommend that no term of probation be imposed, but the

           Defendant understands that the Court's denial of this request will not void this Plea

           Agreement.

                    (d)    The United States and the Defendant jointly submit that this Plea

           Agreement, together with the record that will be created by the United States and the

           Defendant at the plea and sentencing hearings, and the further disclosure described in

           Paragraph 11 , will provide sufficient information concerning the Defendant, the crime

           charged in this case, and the Defendant's role in the crime to enable the meaningful

           exercise of sentencing authority by the Court under 18 U.S.C. § 3553 . The United States

           and Defendant agree to request jointly that the CoUii accept the Defendant' s guilty plea

           and impose sentence on an expedited schedule as early as the date of the Defendant's

           initial appearance based upon the record provided by the Defendant and the United

           States, under the provisions of Fed. R. Crim. P. 32(c)(l)(A)(ii) and U.S.S .G. § 6Al.1.

           The Court's denial of the request to impose sentence on an expedited schedule will not

           void this Plea Agreement.

            10.    The United States and the Defendant agree that the applicable Guidelines fine

    range exceeds the fine contained in the recommended sentence set out in Paragraph 9 above.

    Subject to the full, truthful, and continuing cooperation of the Defendant and its related entities,

    as defined in Paragraph 13 of this Plea Agreement, and prior to sentencing in this case, the

    United States agrees that it will make a motion, pursuant to U.S.S.G. § 8C4.1, for a downward .

    departure from the Guidelines fine range in this case and will request that the Court impose the

    fine contained in the recommended sentence set out in Paragraph 9 of this Plea Agreement

    because of the Defendant's and its related entities' substantial assistance in the government's

    investigation and prosecution of violations of federal criminal law in the automotive parts

    industry.




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           11.     Subject to the full , truthful, and continuing cooperation of the Defendant and its

    related entities, as defined in Paragraph 13 of this Plea Agreement, and prior to sentencing in this

    case, the United States will fully advise the Court and the Probation Office of the fact, manner,

    and extent of the Defendant' s and its related entities' cooperation and their commitment to

    prospective cooperation with the United States' investigation and prosecutions, all material facts

    relating to the Defendant's involvement in the charged offense, and all other relevant conduct.

            12.    The United States and the Defendant understand that the Court retains complete

    discretion to accept or reject the recommended sentence provided for in Paragraph 9 of this Plea

    Agreement.

                   (a)     If the Court does not accept the recommended sentence, the United States

           and the Defendant agree that this Plea Agreement, except for Paragraph 12(b) below, will

           be rendered void.

                   (b)     If the Court does not accept the recommended sentence, the Defendant

           will be free to withdraw its guilty plea (Fed. R. Crim. P. 1 l(c)(5) and (d)). If the

           Defendant withdraws its plea of guilty for that reason, then this_Plea Agreement, the

            guilty plea, and any statement made in the course of any proceedings under Fed. R. Crim.

           P. 11 regarding the guilty plea or this Plea Agreement or made in the course of plea

            discussions with an attorney for the government will not be admissible against the

            Defendant in any criminal or civil proceeding, except as otherwise provided in Fed. R.

           Evid. 410. In addition, the Defendant agrees that, if it withdraws its guilty plea pursuant

           to this subparagraph of this Plea Agreement, the statute of limitations period for any

            offense referred to in Paragraph 15 of this Plea Agreement will be tolled for the period

            between the date of signature of this Plea Agreement and the date the Defendant

            withdrew its guilty plea or for a period of sixty (60) days after the date of signature of this

            Plea Agreement, whichever period is greater.




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                                    DEFENDANT'S COOPERATION

            13.     The Defendant and its related entities (for the purposes of this Plea Agreement,

    the Defendant' s related entities are entities in which the Defendant directly or indirectly had a

    greater than 50% ownership interest as of the date of the signature of this Plea Agreement,

    including, but not limited to, Aisin Holdings of America, Inc., and Aisin World Corp. of

    America), will cooperate fully and truthfully with the United States in the prosecution of this

    case, the current federal investigation of violations of federal antitrust and related criminal laws

    involving the manufacture or sale of VVT devices that is described in Paragraph 4, above, and

    any litigation or other proceedings arising or resulting from such investigation to which the

    United States is a party (collectively "Federal Proceeding"). Federal Proceeding includes, but is

    not limited to, an investigation, prosecution, litigation, or other proceeding regarding obstruction

    of, the making of a fal se statement or declaration in, the commission of perjury or subornation of

    perjury in, the commission of contempt in, or conspiracy to commit such offenses in, a Federal

    Proceeding. The full , truthful, and continuing cooperation of the Defendant and its related

    entities will include, but not be limited to:

                    (a)     producing to the United States all documents, information, and other

            materials, wherever located, not protected under the attorney-client privilege or the work-

            product doctrine, and with translations into English, in the possession, custody, or control

            of the Defendant or any of its related entities, that are requested by the United States in

            connection with any Federal Proceeding; and

                    (b)     using its best efforts to secure the full, truthful, and continuing

            cooperation, as defined in Paragraph 14 of this Plea Agreement, of the current directors,

            officers, and employees of the Defendant or any of its related entities, and of any former

            director, officer, or employee of the Defendant or its related entities who was interviewed

            by and provided information to the United States that assisted the United States in a

            Federal Proceeding before the date of the signature of this Plea Agreement, as may be

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           requested by the United States, but excluding the individuals listed in Attachment A, filed

           under seal, including making these persons available in the United States and at other

           mutually agreed-upon locations, at the Defendant' s expense, for interviews and the

           provision of testimony in grand jury, trial, and other judicial proceedings in connection

           with any Federal Proceeding. CmTent directors, officers, and employees are defined for

           purposes of this Plea Agreement as individuals who are directors, officers, or employees

           of the Defendant or any of its related entities as of the date of signature of this Plea

           Agreement.

            14.    The full, truthful , and continuing cooperation of each person described in

    Paragraph 13(b) above will be subject to the procedures and protections of this paragraph, and

    will include, but not be limited to:

                   (a)     producing in the United States and at other mutually agreed-upon

           locations all documents, including claimed personal documents, and other materials,

           wherever located, not protected under the attorney-client privilege or the work-product

           doctrine, and with translations into English, that are requested by attorneys and agents of

           the United States in connection with any Federal Proceeding;

                    (b)    making himself or herself available for interviews in the United States and

            at other mutually agreed-upon locations, not at the expense of the United States, upon the

            request of attorneys and agents of the United States in connection with any Federal

            Proceeding;

                    (c)    responding fully and truthfully to aJI inquiries of the United States in

            connection with any Federal Proceeding, without falsely implicating any person or

            intentionally withholding any information, subject to the penalties of making a false

            statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction of justice (18 U.S .C. §

            1503, et seq.), or conspiracy to commit such offenses;




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                   (d)     otherwise voluntarily providing the United States with any material or

           information not requested in (a) - ( c) of this paragraph and not protected under the

           attorney-client privilege or work-product doctrine that he or she may have that is related

           to any Federal Proceeding;

                   (e)     when called upon to do so by the United States in connection with any

           Federal Proceeding, testifying in grand jury, trial , and other judicial proceedings in the

           United States fully, truthfully, and under oath, subject to the penalties of perjury (18

           U.S.C. § 1621), making a false statement or declaration in grand jury or court

           proceedings (18 U.S.C. § 1623), contempt (18 U.S.C. §§ 401-402), and obstruction of

           justice (18 U.S.C. § 1503, et seq.); and

                   (f)     agreeing that, if the agreement not to prosecute him or her in this Plea

           Agreement is rendered void under Paragraph 16(c), the statute of limitations period for

           any Relevant Offense, as defined in Paragraph 16(a), will be tolled as to him or her for

           the period between the date of signature of this Plea Agreement and six (6) months after

           the date that the United States gave notice of its intent to void it_s obligations to that

           person under this Plea Agreement.


                                   GOVERNMENT'S AGREEMENT

           15.     Subject to the full, truthful, and continuing cooperation of the Defendant and its

    related entities, as defined in Paragraph 13 of this Plea Agreement, and upon the Court's

    acceptance of the guilty plea called for by this Plea Agreement and the imposition of the

    recommended sentence, the United States agrees that it will not bring further criminal charges

    against the Defendant or any of its related entities for any act or offense committed before the

    date of signature of this Plea Agreement that was undertaken in furtherance of the antitrust

    conspiracy involving the manufacture and sale of VVT devices that is described in Paragraph 4,

    above. The nonprosecution terms of this paragraph do not apply to (a) any acts of subornation of
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    perjury (18 U.S.C. § 1622), making a false statement (18 U.S.C. § 1001), obstruction of justice

    (18 U.S.C. § 1503, et seq.), contempt (18 U.S.C. §§ 401-402), or conspiracy to commit such

    offenses; (b) civil matters of any kind; (c) any violation of the federal tax or securities laws or

    conspiracy to commit such offenses; or (d) any crime of violence.

            16.    The United States agrees to the following:

                   (a)     Upon the Court's acceptance of the guilty plea called for by this Plea

            Agreement and the imposition of the recommended sentence and subject to the

            exceptions noted in Paragraph 16(c ), the United States agrees that it will not bring

            criminal charges against any current director, officer, or employee of the Defendant or its

            related entities, or any former director, officer, or employee of the Defendant or its

            related entities who was interviewed by and provided information to the United States

            that assisted the United States in a Federal Proceeding before the date of the signature of

            this Plea Agreement, for any act or offense committed before the date of signature of this

            Plea Agreement and while that person was acting as a director, officer, or employee of

            the Defendant or its related entities that was undertaken in furtherance of the antitrust

            conspiracy involving the manufacture and sale of VVT devices that is described in

            Paragraph 4, above ("Relevant Offense"), except that the protections granted in this

            paragraph do not apply to the individuals listed in Attachment A, filed under seal;

                    (b)     Should the United States determine that any current director, officer, or

            employee of the Defendant or its related entities, or any former director, officer, or

            employee of the Defendant or its related entities who was interviewed by and provided

            information to the United States that assisted the United States in a Federal Proceeding

            before the date of the signature of this Plea Agreement, may have information relevant to



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          any Federal Proceeding, the United States may request that person' s cooperation under

          the terms of this Plea Agreement by written request delivered to counsel for the

          individual (with a copy to the undersigned counsel for the Defendant) or, if the individual

          is not known by the United States to be represented, to the undersigned counsel for the

          Defendant;

                 ( c)    If any person requested to provide cooperation under Paragraph 16(b) fails

          to comply fully with his or her obligations under Paragraph 14, then the terms of this Plea

          Agreement as they pertain to that person and the agreement not to prosecute that person

          granted in this Plea Agreement will be rendered void, and the United States may

          prosecute such person criminally for any federal crime of which the United States has

          knowledge, including, but not limited to, the Relevant Offense;

                 (d)     Except as provided in Paragraph 16(e), information provided by a person

          described in Paragraph 16(b) to the United States under the terms of this Plea Agreement

          pertaining to the Relevant Offense, or any information directly or indirectly derived from

          that info1mation, may not be used against that person in a criminal case, except in a

          prosecution for perjury or subornation ofpe1jury (18 U.S.C . §§ 1621-22), making a false

          statement or declaration (18 U.S .C. §§ 1001 , 1623), obstruction of justice (18 U.S.C. §

          1503, et seq.), contempt (18 U.S .C. §§ 401-402), or conspiracy to commit such offenses;

                 (e)     If any person who provides information to the United States under this

          Plea Agreement fails to comply fully with his or her obligations under Paragraph 14 of

          this Plea Agreement, the agreement in Paragraph 16(d) not to use that information or any

          information directly or indirectly derived from it against that person in a criminal case

          will be rendered void ;



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                   (f)     The nonprosecution terms of this paragraph do not apply to (a) any acts of

           perjury or subornation of perjury (18 U.S.C. §§ 1621-22), making a false statement (18

           U.S.C. §§ 1001 , 1623), obstruction of justice (18 U.S.C. § 1503, et seq.), contempt (18

           U.S.C. §§ 401-402), or conspiracy to commit such offenses; (b) civil matters of any kind;

           (c) any violation of the federal tax or securities laws or conspiracy to commit such

           offenses; or (d) any crime of violence; and

                   (g)     Documents provided under Paragraphs 13(a) and 14(a) will be deemed

           responsive to outstanding grand jury subpoenas issued to the Defendant or any of its

           related entities.

            17.    The United States agrees that when any person travels to the United States for

    interviews, grand jury appearances, or court appearances pursuant to this Plea Agreement, or for

    meetings with counsel in preparation therefor, the United States will take no action, based upon

    the Relevant Offense, to subject such person to arrest, detention, or service of process, or to

    prevent such person from departing the United States. This paragraph does not apply to an

    individual's commission of perjury or subornation ofpe1jury (18 U.S.C. §§ 1621-22), making a

    false statement or declaration (18 U.S.C. §§ 1001, 1623), obstruction of justice (18 U.S.C. §

    1503, et seq.), contempt (18 U.S .C. §§ 401-402), or conspiracy to commit such offenses.

            18 .   The Defendant understands that it may be subject to suspension or debarment

    action by state or federal agencies other than the United States Department of Justice, Antitrust

    Division, based upon the conviction resulting from this Plea Agreement, and that this Plea

    Agreement in no way controls what action, if any, other agencies may take. However, the

    Antitrust Division agrees that, if requested, it will advise the appropriate officials of any

    governmental agency considering such action of the fact, manner, and extent of the cooperation



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    of the Defendant and its related entities as a matter for that agency to consider before

    determining what action, if any, to take . The Defendant neve1iheless affirms that it wants to

    plead guilty regardless of any suspension or debarment consequences of its plea.




                                  REPRESENTATION BY COUNSEL


            19.    The Defendant has been represented by counsel and is fully satisfied that its

    attorneys have provided competent legal representation. The Defendant has thoroughly reviewed

    this Plea Agreement and acknowledges that counsel has advised it of the nature of the charge,

    any possible defenses to the charge, and the nature and range of possible sentences.


                                          VOLUNT ARY PLEA


            20.    The Defendant's decision to enter into this Plea Agreement and to tender a plea of

    guilty is freely and voluntarily made and is not the result of force, threats, assurances, promises,

    or representations other than the representations contained in this Plea Agreement and

    Attachments A and B (both filed under seal). The United States has made no promises or

    representations to the Defendant as to whether the Court will accept or reject the

    recommendations contained within this Plea Agreement.

                                VIOLATION OF PLEA AGREEMENT


           21 .    The Defendant agrees that, should the United States determine in good faith,

    during the period that any Federal Proceeding is pending, that the Defendant or any of its related

    entities have failed to provide full , truthful, and continuing cooperation, as defined in Paragraph

    13 of this Plea Agreement, or have otherwise violated any provision of this Plea Agreement, the

    United States will notify counsel for the Defendant in writing by personal or overnight delivery,



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    email, or facsimile transmission and may also notify counsel by telephone of its intention to void

    any of its obligations under this Plea Agreement (except its obligations under this paragraph),

    and the Defendant and its related entities will be subject to prosecution for any federal crime of

    which the United States has knowledge including, but not limited to, the substantive offense that

    is the subject of this Plea Agreement. The Defendant agrees that, in the event that the United

    States is released from its obligations under this Plea Agreement and brings criminal charges

    against-the Defendant or its related entities for any offense referred to in Paragraph 15 of this

    Plea Agreement, the statute of limitations period for such offense will be tolled for the period

    between the date of signature of this Plea Agreement and six (6) months after the date the United

    States gave notice of its intent to void its obligations under this Plea Agreement.

            22.     The Defendant understands and agrees that in any fwiher prosecution

    of it or its related entities resulting from the release of the United States from its obligations

    under this Plea Agreement because of the Defendant's or any of its related entities' violation of

    this Plea Agreement, any documents, statements, information, testimony, or evidence provided

    by it, its related entities, or their current or former directors, officers, or employees to attorneys

    or agents of the United States, federal grand juries, or comis, and any leads derived therefrom,

    may be used against it or its related entities. In addition, the Defendant unconditionally waives

    its right to challenge the use of such evidence in any such fmiher prosecution, notwithstanding

    the protections of Fed. R. Evid. 410.

                                      ENTIRETY OF AGREEMENT


            23.     This Plea Agreement and Attaclunents A and B (both filed under seal) constitute

    the entire agreement between the United States and the Defendant concerning the disposition of




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    the criminal charge in this case. This Plea Agreement cannot be modified except in writing,

    signed by the United States and the Defendant.

           24.       The undersigned is authorized to enter this Plea Agreement on behalf of the

    Defendant as evidenced by the Resolution of the Board of Directors of the Defendant attached to,

    and incorporated by reference in, this Plea Agreement.

           25.       The undersigned attorneys for the United States have been authorized

    by the Attorney General of the United States to enter this Plea Agreement on behalf of the

    United States.

           26.       A facsimile or PDF signature will be deemed an original signature for the purpose

    of executing this Plea Agreement. Multiple signature pages are authorized for the purpose of

    executing this Plea Agreement.




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          DATED:         12.- /I/ 2-o I c.f


                                                                           Respectfully submitted,




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          BY::......,___
              Masami Nomizo
                            ' -
                                                                           Michael N. Loterstein, IL Bar No . 6297060
              General Manager                                              Andrew K.M. Rosa, HI Bar No. 6366
              Legal Affairs Dept.                                          Ruben Martinez, Jr., TX Bar No. 24052278
              Aisin Seiki Co., Ltd.                                        Matthew J. McCrobie, IL Bar No. 6309644
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          BY:........:::=-...,t.....,..c::::::::~:_j_~:::::=_~ -'--
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                                                                                         September 2014

                                            AISIN SEIKI CO., LTD .
                                            BOARD RESOLUTIONS

         At the Meeting of the Board of Directors of AISIN SEfKT CO., LTD. ("Aisin") held on
         September 25, 20 14, the Board:

         RESOLVED, that the execution, delivery and performance of the Plea Agreement
         between the United States Department of Justice and Aisin, in substantially the form
         attached hereto, is hereby approved;

         RESOLVED, that Mr. Masarni Nomizo, General Manager, Legal A ffairs Department of Aisin, is
         authorized, empowered and directed to execute and deliver the Plea Agreement in the name and
         on behalf of Aisin; and

         RESOLVED, that Mr. Masami Nomizo, is authorized, empowered and directed to represent
         Aisin before any court or governmental agency in order to make statements and confirmations in
         accordance with the Plea Agreement, including waiving indictment and entering a guilty plea on
         behalf of Aisin.



                                                 CERTIFICATE

         I, Fumio Fujimori, President of Aisin, a company organized and existing under the laws of Japan,
         do hereby certify that the foregoing resolutions adopted by the Board of Directors of Aisin at a
         meeting of the Board of Directors in Kariya, Aichi on September 25, 2014, are true, correct and
         complete and that said resolutions have not been amended, modified or repealed, and remain in
         ful I force and effect, as of the date hereof.

         Signed in Kari ya, Aichi, Japan this 26 day of September, 2014, by

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         Mr. Fumio Fujimori
         President
         AISIN SEIKI CO., LTD.
